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     Lenders Liquidation Trust
 9
                            UNITED STATES BANKRUPTCY COURT
10
                                FOR THE DISTRICT OF NEVADA
11
12                                                  )   CASE NO. 11-14973-MKN
     In re:                                         )   CHAPTER 11
13   R & S ST. ROSE LENDERS, LLC,                   )
                                                    )
14                                                  )   Hearing Date: OST Pending
                                                    )   Hearing Time: OST Pending
15                         Debtor.                  )
                                                    )
16                                                  )
                                                    )
17
     MOTION FOR ORDER AUTHORIZING LIQUIDATION TRUSTEE TO DISBURSE
18
     FUNDS, HOLDBACK FUNDS FOR ADMINISTRATIVE CLAIMS, AND DISBURSE
19       ON PRORATED BASIS FUNDS REMAINING AFTER PAYMENT OF
      ADMINISTRATIVE CLAIMS WITHOUT FURTHER ORDER OF THE COURT
20
            Brian D. Shapiro (“Liquidation Trustee”), on behalf of the R & S St. Rose Lenders, LLC
21
22   Liquidation Trust (“Liquidation Trust”), and the Debtor-out-of-possession, R & S St. Rose

23   Lenders, LLC (“Lenders,” and together with the Liquidation Trustee, the “Movants”), by and
24
     through their undersigned counsel, hereby respectfully file their Motion for Order Authorizing
25
     Liquidation Trustee to Disburse Funds, Holdback Funds for Administrative Claims, and
26
27   Disburse of Prorated Basis Funds Remaining After Payment of Administrative Claims Without

28


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     Further Order of the Court (the “Motion”) and requests an order, substantially in the form of
 1
 2   the Proposed Order attached hereto as Exhibit 1, granting the following relief from the Court:

 3
            1.      That the Liquidation Trustee/Distribution Agent be authorized to
 4                  holdback estimated funds for payments to the United States Trustee
                    and to make payments to the United States Trustee for the fees that will
 5                  be due to the United States Trustee related to the proposed distributions
                    made to creditors in administering the Trust as estimated in the Claims
 6                  Distribution Chart attached hereto as Exhibit 2;
 7
            2.      That the Liquidation Trustee/Distribution Agent be authorized to
 8                  holdback $250,000.00 (the "Administrative Holdback") in funds for
                    payments for administrative fees and costs incurred administering the
 9                  Trust as set forth in the Claims Distribution Chart attached hereto as
                    Exhibit 2.
10
            3.      That the Liquidation Trustee/Distribution Agent be authorized to make
11                  pro rata distributions to Class 1 claimants pursuant to the Claims
                    Distribution Chart attached hereto as Exhibit 2.
12
            4.      That the Liquidation Trustee/Distribution Agent be authorized to pay
13                  the fees and costs incurred in the administration of the Trust by the
                    Liquidation Trustee/Distribution Agent and Debtor's counsel from the
14                  Administrative Holdback without further order of the Court.
15          5.      That after the payment of the fees and costs incurred in the
                    administration of the Trust from the Administrative Holdback, the
16                  Liquidation Trustee/Distribution Agent be authorized to disburse any
17                  remaining funds from the Administrative Holdback, without further
                    order of the Court, to Class 1 claimants by calculating each Creditor's
18                  share of the remaining funds by applying the "ProRata Percentage of
                    Total" as set forth on the Claims Distribution Chart attached hereto as
19                  Exhibit 2 to the remaining funds to determine each parties' respective
                    share.
20
            6.      That any of the distributions permitted by way of the granting of this
21                  Motion that are under $1.00 shall not be made.
22          This Motion is based upon the Memorandum Points and Authorities cited herein, the
23
     Declaration of Brian Shapiro (“Shapiro Decl.”) filed concurrently herewith, the pleadings, and
24
     the papers and records on file in this action and any oral argument of counsel at any hearing on
25
26   this Motion.

27   ...
28


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 1                                POINTS AND AUTHORITIES
 2   I.     RELEVANT BACKGROUND
 3          A.     The Chapter 11 Filings
 4          1.     On April 4, 2011, Lenders commenced a voluntary Chapter 11 case before the
 5   United States Bankruptcy Court, District of Nevada, pending as Case No. BK-S-11-14973-
 6
     MKN (the “Lenders Bankruptcy”).
 7
            2.     Lenders’ Schedule “A” in the Lenders Bankruptcy listed no real property assets;
 8
     and Lenders’ Schedule “B” in the Lenders Bankruptcy listed personal property consisting of
 9
     two (2) checking accounts totaling $574.38, a claim in the amount of $12 million against R &
10
     S St. Rose, LLC (“RSLLC”), and a “judgment against Branch Banking and Trust Company” in
11
     the amount of $41,000.
12
            3.     On April 4, 2011, RSLLC commenced a separate voluntary Chapter 11 case
13
     before the United States Bankruptcy Court, District of Nevada, pending as Case No. BK-S-11-
14
15   14974-MKN (hereinafter, the “RSLLC Bankruptcy”). The RSLLC Bankruptcy is now closed

16   after a plan was confirmed by the Bankruptcy Court and affirmed on appeal. RSLLC’s

17   Schedule “A” in the RSLLC Bankruptcy listed a fee simple interest in approximately 38 acres

18   of raw land located on St. Rose Parkway in Henderson, Nevada (the “Property”).

19          4.     On July 22, 2011, Branch Banking and Trust Company (“BB&T”), the
20   predecessor-in-interest to Truist, filed an unsecured proof of claim in the amount of
21   $38,539,707.47 in the Lenders Bankruptcy (Claim No. 29-1). On July 27, 2011, BB&T filed
22   an unsecured proof of claim in the amount of $38,539,707.47 in the Lenders Bankruptcy (Claim
23   No. 43-1).
24          5.      BB&T’s claim in the Lenders Bankruptcy was based on a 2007 loan (the
25
     “Construction Loan”) between Colonial Bank, N.A. (“Colonial Bank”) and RSLLC, secured by
26
     a deed of trust against the Property. In connection with the Construction Loan, CLTIC through
27
     Nevada Title issued a Lenders Policy of Title Insurance, Policy Number 562-Z093126 in the
28
     amount of $43,980,000 for the benefit of Colonial Bank on July 31, 2007 (hereinafter, the


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 1   “Policy”). The rights under the Construction Loan and deed of trust against the Property
 2   allegedly had been obtained by BB&T from the FDIC as receiver for Colonial Bank.
 3          6.      On June 24, 2009, CLTIC was notified by Colonial Bank that the Lenders deed
 4   of trust remained of record as senior in time priority to Colonial Bank’s deed of trust insured
 5   under the Policy. The notice of claim submitted by Colonial Bank to CLTIC was assigned Claim
 6
     No. 342140 and subsequently administered. In the Lenders Bankruptcy, BB&T alleged that its
 7
     lien against the Property is senior to that of Lenders’, asserted claims for fraud and conspiracy,
 8
     and references an action previously commenced in state court by Colonial Bank.
 9
            7.      On July 26, 2011, CLTIC filed in the Lenders Bankruptcy an unsecured proof
10
     of claim in an amount to be determined, on the basis of, inter alia, “fraud, misrepresentation
11
     and negligence” by RSLLC and Lenders (Claim No. 30-1). Claim No. 30-1 asserted an
12
     estimated value of $43,980,000 based on alleged fraud by Lenders in connection with the
13
     Construction Loan and the Policy.
14
15          B.      State Court Actions

16          8.      The state court litigation consisted of a first action brought by Robert E.

17   Murdock (“Murdock”) and Eckley M. Keach (“Keach”) and a second action brought by

18   Colonial Bank. The first action brought by Murdock and Keach was commenced in November

19   2008 in the Eighth Judicial District Court for Clark County, Nevada. That action was brought
20   against Rad, Nourafchan, Forouzan, RPN, Lenders and RSLLC, styled Murdock, et al. v. Rad,
21   et al., Case No. 08-A574852-C (“State Litigation 1”). In April 2009, Colonial Bank and RSIG
22   were also added as named defendants in State Litigation 1.
23          9.      In July 2009, Colonial Bank commenced a second action in the Eighth Judicial
24   District Court for Clark County, Nevada against RSLLC, and others, styled as Colonial Bank,
25
     N.A. v. R&S St. Rose Lenders, LLC, et al., Case No. 09-A-594512-C (“State Litigation 2”). In
26
     State Litigation 2, both Colonial Bank and Lenders alleged they were secured creditors of
27
     RSLLC. Colonial Bank’s primary assertion was that Lenders had improperly obtained a lien
28
     against the subject Property ahead of Colonial Bank’s deed of trust. Shortly after State


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 1   Litigation 2 was commenced, Colonial Bank was placed into receivership by the FDIC, as
 2   receiver. Subsequently, BB&T, as the alleged purchaser from the FDIC of some of the assets
 3   of Colonial Bank, filed amended complaints, again asserting various claims against RSLLC,
 4   Lenders, and others in State Litigation 2. In State Litigation 2, Lenders filed a counterclaim
 5   seeking a declaration that its deed of trust had priority over Colonial Bank’s deed of trust.
 6
            10.      State Litigation 2 was consolidated with State Litigation 1 (hereinafter
 7
     collectively referred the as the “State Court Action”).
 8
            11.      On January 8, 2010, a ten-day trial of the State Court Action was commenced,
 9
     which concluded on or about April 14, 2010, and resulted in various findings of fact and rulings
10
     by the Court.
11
            12.      On June 23, 2010, the State Court entered Findings of Fact and Conclusions of
12
     Law determining, inter alia, that Lenders’ deed of trust had priority over the Colonial Bank
13
     deed of trust and that BB&T had not proven it was the successor-in-interest to the Construction
14
15   Loan following the takeover of Colonial Bank by the FDIC. On July 13, 2010, the State Court

16   entered an initial judgment against Lenders in favor of Murdock in the amount of $166,741.83

17   and in favor of Keach in the amount of $1,009,163.61, resulting in a total judgment against

18   Lenders of $1,175,905.44.

19          13.      On or about November 5, 2010, a final judgment was entered in the State Court
20   Action granting judgment in favor of Murdock and Keach against Lenders, granting judgment
21   in favor of Lenders against BB&T as to the priority of Lenders deed of trust, and dismissing all
22   other claims not previously resolved in the action. BB&T appealed such judgment to the
23   Nevada Supreme Court.
24          14.      On or about March 31, 2011, Murdock and Keach assigned to CLTIC their rights
25
     under the judgment in the consolidated State Court Action. CLTIC filed Claim No. 31-1 based
26
     on the judgment in the amount of $1,175,905.44. That claim has been deemed allowed under
27
     11 U.S.C. § 502.
28


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 1          15.      On May 31, 2013, the judgment in the State Court Action was affirmed by the
 2   Nevada Supreme Court.
 3          C.       The Dismissed Involuntary Bankruptcy Against RSLLC
 4          16.      A foreclosure of the Property by Lenders under its deed of trust was scheduled
 5   to be conducted on June 1, 2010, and BB&T’s request to stay the foreclosure was denied by the
 6
     judge in the State Court Action.
 7
            17.      On May 13, 2010, BB&T commenced an involuntary Chapter 7 proceeding
 8
     against RSLLC, denominated Case No. 10-18827-MKN (the “Involuntary Proceeding”). As a
 9
     result of the Involuntary Proceeding, the foreclosure of the Property was stayed by the
10
     automatic stay under Section 362(a) of the Bankruptcy Code.
11
            18.      On May 25, 2010, a motion to dismiss the Involuntary Proceeding was filed by
12
     Nourafchan and Estate of Rad (Involuntary Proceeding ECF No. 9), which was later joined by
13
     Lenders (Involuntary ECF No. 25).
14
15          19.      On October 29, 2010, an order was entered by the bankruptcy court dismissing

16   the Involuntary Proceeding (Involuntary ECF No. 37).

17          D.       BB&T Action and CLTIC Action

18          20.      On November 10, 2010, BB&T filed a complaint against NTC and CLTIC in

19   the United States District Court for the District of Nevada styled Branch Banking & Trust
20   Company v. Nevada Title Company, et al. Case No. 2:10-cv-01970-JCM-RJJ (the “BB&T
21   Action”), asserting claims for breach of contract, breach of the implied covenant of good faith
22   and fair dealing, bad faith denial of insurance claim, detrimental reliance, declaratory relief,
23   and negligence. NTC and CLTIC filed motions to dismiss the BB&T Action, both of which
24   were granted.
25
            21.      On March 10, 2011, CLTIC filed a complaint against NTC in the United States
26
     District Court for the District of Nevada styled Commonwealth Land Title Insurance Company
27
     v. Nevada Title Company and Does I-X, Case No 2:11-cv-00380-KJD-GWF (the “Recoupment
28
     Action”), asserting claims for contractual indemnity, breach of the implied covenant of good


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 1   faith and fair dealing, implied contractual indemnity, negligence and breach of fiduciary duty.
 2   NTC answered the Recoupment Action denying all liability. CLTIC subsequently filed an
 3   amended complaint naming NTIC as a party to the Recoupment Action.
 4          22.     The Recoupment Action was subsequently stayed pending resolution of the
 5   proceedings in the Lenders Bankruptcy and the RSLLC Bankruptcy and the loss if any
 6
     associated with such claims.
 7
            E.      The RSLLC Plan of Reorganization and Related Appeals
 8
            23.     On August 2, 2013, RSLLC filed a proposed Chapter 11 liquidating plan
 9
     (“RSLLC Plan”) (St. Rose ECF No. 242). On November 8, 2013, in the RSLLC Bankruptcy,
10
     an order was entered to confirm the RSLLC Plan (St. Rose ECF No. 291).
11
            24.     On November 21, 2013, in the RSLLC Bankruptcy, an order was entered
12
     approving a sale of the Property (“Sale Order”) in accordance with the confirmed RSLLC Plan
13
     (St. Rose ECF No. 302). Under the Sale Order, the Property was sold for the purchase price of
14
15   Thirteen Million Five Hundred Thousand Dollars ($13,500,000), with the liens in favor of

16   Lenders and Colonial Bank attaching to the proceeds of sale (“Sale Proceeds”).

17          25.     On November 21, 2013, BB&T filed a notice of appeal to the United States

18   District Court challenging the confirmation of the St. Rose Plan (St. Rose ECF No. 306). On

19   November 22, 2013, CLTIC also filed a notice of appeal to the United States District Court
20   challenging the plan confirmation order (St. Rose ECF No. 312).
21          26.     Pursuant to Article III of the RSLLC Plan, the Sale Proceeds were to be
22   distributed to Lenders up to the allowed amount of its claim. After the close of the sale, those
23   proceeds were distributed to Lenders over the objection of BB&T, as set forth in the Motion to
24   Return Funds to Debtor that were Improperly Disbursed under the Chapter 11 Plan, filed April
25
     28, 2014 (St. Rose ECF No. 381) and the Opposition to Motion to Return Funds, filed May 21,
26
     2014 (St. Rose ECF No. 389).
27
28


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 1          27.    The Motion to Return Funds to Debtor that were Improperly Disbursed under
 2   the Chapter 11 Plan was withdrawn by BB&T upon the agreement of counsel that Lenders
 3   would not disburse the funds absent a confirmed Chapter 11 plan.
 4          28.    On August 7, 2014, an order was entered in the appeals affirming the Bankruptcy
 5   Court’s Order confirming the RSLLC Plan (St. Rose ECF No. 446).
 6
            F.     The Guarantor Action
 7
            29.    On October 16, 2015, BB&T filed a Motion for Summary Judgment against the
 8
     Estate of Rad and Phillip Nourafchan (the “Guarantors”) in the Guarantor Action, Case No.
 9
     2:14-cv-01947-APG-PAL, United States District Court for the District of Nevada, (ECF No.
10
     38), seeking a judgment in favor of BB&T and against the Guarantors in the amount of
11
     $44,517,158.59 as of October 16, 2015, which included principal of $33,461,408.21 and interest
12
     in the amount of $11,055,750.38.
13
            30.    On September 1, 2016, the Court entered an Order on the Motion for Summary
14
15   Judgment in favor of BB&T and against the Guarantors in the Guarantor Action (ECF No. 50).

16          31.    On October 13, 2016, the Court entered a Judgment in favor of BB&T and

17   against Guarantors Nourafchan and the Estate of Rad in the amount of $44,517,158.59 as of

18   October 16, 2015 in the Guarantor Action (ECF No. 52), which Judgment was subsequently

19   affirmed on appeal (hereafter, the “Guarantor Judgment”).
20          G.     The Lenders Plan of Reorganization
21          32.    On April 18, 2016, Lenders filed its Third Amended Chapter 11 Plan (“Plan”)
22   (Lenders ECF No. 794), along with its Sixth Amended Disclosure Statement (“Disclosure
23   Statement”) (Lenders ECF No. 793).
24          33.    On April 28, 2017, this Court entered its Memorandum Decision on
25
     Confirmation of Debtor’s Third Amended Plan of Liquidation (the “Memorandum Decision”)
26
     [ECF No. 1038] and its Order on Confirmation of Debtor’s Third Amended Plan of Liquidation
27
     (the “Confirmation Order”). (Lenders ECF No. 1039). BB&T appealed the Memorandum
28
     Decision and the Confirmation Order (Lenders ECF No. 1041).


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 1          34.     On December 16, 2019, the Lenders Liquidation Trust filed a Motion for
 2   Summary Judgment against CLTIC denying proof of Claim No. 30-1 (Lenders ECF No. 1223),
 3   and against BB&T denying its Proof of Claim (Claim No. 43-1).
 4          H.      The Global Settlement Agreement
 5          35.     On March 3, 2020, the parties entered into the record before the Bankruptcy
 6
     Court that they had reached a global settlement resolving each and every claim between the
 7
     Parties (the “Global Settlement”) which was subsequently memorialized into a written
 8
     agreement.
 9
            36.     A Motion to Approve the Global Settlement Agreement was approved by this
10
     Court. The Order approving the Motion to Approve the Global Settlement Agreement was
11
     entered on April 30, 2020. See Lenders ECF No. 1273. The Order approving the Motion to
12
     Approve the Global Settlement Agreement became a final order on May 15, 2020.
13
            I.      The Liquidation Trust Proceeds
14
15          37.     In accordance with the Plan, on May 26, 2017, Lenders and the Liquidation

16   Trustee executed the R & S St. Rose Lenders, LLC Liquidation Trust Agreement (“Liquidation

17   Trust Agreement”), a true and correct copy of which is attached to the Plan at Lenders ECF No.

18   794, as Exhibit A.

19          38.     Pursuant to the Liquidation Trust Agreement, the Liquidation Trustee may apply
20   to this Court “for instructions or procedures in connection with any issue which may arise in
21   the administration of” the Liquidation Trust. [Exhibit 1, Section 11.8].
22          39.     Pursuant to the Plan, the Distribution Agent means “Debtor, or the Person or
23   Entity chosen by Debtor to make or to facilitate Distributions pursuant to the Plan.” (Plan, ECF
24   No. 794, p. 12 para 33). Debtor chose the Liquidation Trustee to act as the Distribution Agent.
25
            40.     Pursuant to the Confirmation Order, “the R & S St. Rose Lenders, LLC
26
     Liquidation Trust created pursuant to Article V. A. of the Plan, may distribute to allowed claims
27
     in Class 1 any undistributed portion of the funds allocated to claims in Class 2(a)” and “the
28
     trustee of the R & S St. Rose Liquidation Trust may proceed with Class 1 distributions upon


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 1   the effective date of the Plan, but must withhold from Class 1, distributions in the amount
 2   of $6,359,052, until further order of the court.” [ECF No. 1039, 2:4-9 (emphasis in original)].
 3          41.     On or about June 2, 2017, funds held by Lenders were transferred to the
 4   Liquidation Trustee/Distribution Agent. As of June 12, 2017, the Liquidation Trust had
 5   received funds in the amount of $11,643,385.30 (“Trust Funds”).
 6
            42.     On or about September 20, 2017, Lenders and the Liquidation Trustee filed a
 7
     Motion for Order Directing Plan Implementation (the "Implementation Motion") (Lenders ECF
 8
     No. 1101). The Order granting the Implementation Motion was entered on or about December
 9
     20, 2017 (the "Implementation Order") (Lenders ECF No. 1148).
10
            43.     Pursuant to the Implementation Order, the Court directed that the amount of to
11
     be withheld from distribution for holders of Class 1 Claims be increased to $8,220,780.00 (the
12
     “Holdback”) which amount was ordered to be withheld from distribution until further order of
13
     the Court. See Lenders ECF No. 1148.
14
15          44.     As of the filing of this Motion, the Liquidation Trustee estimates that

16   $8,536,328.94 is being held in the Liquidation Trust account for administration fees and costs,

17   including any U.S. Trustee fees, and for distribution for holders of Class 1 Claims.

18          45.     Through this Motion, the Liquidation Trustee/Distribution Agent seeks

19   confirmation that he may make certain distributions to Class 1 Creditors. The Liquidation
20   Trustee/Distribution Agent additionally seeks an order confirming that certain funds can be
21   heldback for the payment of Estimated U.S. Trustee fees and for Administrative Fees and Costs.
22          46.     Attached to this Motion as Exhibit 2 is a chart showing all Class 1 claimants
23   who are to receive pro rata distributions from the Liquidation Trust at this time (“Claims
24   Distribution Chart”). Through this Motion, the Liquidation Trustee/Distribution Agent seeks
25
     confirmation that he may make the pro rata distributions to Class 1 claimants as shown on the
26
     Claims Distribution Chart.
27
            47.     The Claims Distribution Chart also estimates United States Trustee fees that
28
     would be held back to cover the fees due to the United States Trustee related to the distributions


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 1   proposed. Through this Motion, the Liquidation Trustee/Distribution Agent seeks confirmation
 2   that he may hold back the estimated United States Trustee fees and disburse those payments to
 3   the United States Trustee following the proposed disbursements to creditors.
 4          48.     In addition, the Claims Distribution Chart proposes a holdback for
 5   Administrative fees and costs in the amount of $250,000.00 (the "Administrative Holdback").
 6
     Through this Motion, the Liquidation Trustee/Distribution Agent seeks confirmation that he
 7
     may hold back the Administrative Holdback.
 8
            49.     The Liquidation Trustee/Distribution Agent further requests that he be
 9
     authorized to pay the fees and costs incurred in the administration of the Trust by the
10
     Liquidation Trustee/Distribution Agent and Debtor's counsel from the Administrative
11
     Holdback without further order of the Court.
12
            50.     The Liquidation Trustee/Distribution Agent requests that after the payment of
13
     the fees and costs incurred in the administration of the Trust from the Administrative Holdback,
14
15   the Liquidation Trustee/Distribution Agent be authorized to disburse any remaining funds from

16   the Administrative Holdback, without further order of the Court, to Class 1 claimants by

17   calculating each Creditor's share of the remaining funds by applying the "ProRata Percentage

18   of Total" as set forth on the Claims Distribution Chart attached hereto as Exhibit 2 to the

19   remaining funds to determine each parties' respective share. In making the final distributions
20   of the remaining funds, the Liquidation Trustee/Distribution Agent further requests that any of
21   the distributions permitted by way of the granting of this Motion that are under $1.00 shall not
22   be made.
23                                     II.     LEGAL ARGUMENT

24          A.      The Court Should Authorize the Distributions and Holdbacks in the Claims
                    Distribution Chart Attached as Exhibit 2.
25
26          In Section 1142 of the Bankruptcy Code, which provides for the implementation of

27   reorganization plans, provides:
28


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                    (a) Notwithstanding any otherwise applicable nonbankruptcy law,
 1
                    rule, or regulation relating to financial condition, the debtor and any
 2                  entity organized or to be organized for the purpose of carrying out
                    the plan shall carry out the plan and shall comply with any orders of
 3                  the court.
 4
                    (b) The court may direct the debtor and any other necessary party to
 5                  execute or deliver or to join in the execution or delivery of any
                    instrument required to effect a transfer of property dealt with by a
 6                  confirmed plan, and to perform any other act, including the
 7                  satisfaction of any lien, that is necessary for the consummation of
                    the plan.
 8
     11 U.S.C. § 1142.
 9
10          Section 1142(b) bestows the court with considerably broad authority to issue any order

11   necessary to implement a confirmed Chapter 11 plan, including specifically to comply with the
12   terms of a plan. See Riverside Nursing Home v. N. Metro. Residential Health Care Facility,
13
     Inc., 977 F.2d 78 (2d Cir. 1992) (directing debtor to enter into receiver agreement for nursing
14
     home operated by debtor); Jorgensen v. Fed. Land Bank (In re Jorgensen), 66 B.R. 104 (B.A.P.
15
16   9th Cir. 1986) (using authority under Section 1142(b) to appoint a party as liquidating agent

17   under plan proposed by creditors over the objection of debtor); In re Harlow Props., Inc., 56
18
     B.R. 794 (B.A.P. 9th Cir. 1985) (ordering officers of corporate debtor to execute documents
19
     necessary for the sale of the corporate assets); Gray v. Polar Molecular Corp. (In re Polar
20
     Molecular Corp.), 195 B.R. 548 (Bankr. D. Mass. 1996) (court held that it had authority under
21
22   Section 1142(b) to order debtor to make required plan payments to a trustee for unsecured

23   creditors). Thus, Section 1142(b) allows the court to direct the debtor or trustee to perform any
24
     act necessary for consummation of the plan.
25
            Given the finality of the Order approving the Motion to Approve the Global Settlement
26
27   Agreement and the global resolution between the parties, the Liquidation Trustee/Distribution

28   Agent believes that the distributions and holdback proposed in the Claims Distribution Chart


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     should be permitted to proceed at this time. The Claims Distribution Chart was circulated to
 1
 2   counsel for the parties to the Global Settlement prior to the filing of this Motion. No preliminary

 3   objections were raised to the proposed distributions and holdbacks when the Claims
 4
     Distribution Chart was circulated. Therefore, the Liquidation Trustee/Distribution Agent is
 5
     informed and believes that the parties to the Global Settlement approve of the proposed
 6
 7   distributions and holdbacks set forth in the Claims Distribution Chart.

 8          For the foregoing reasons, the Liquidation Trustee/Distribution Agent requests that the
 9   Court enter an order authorizing the proposed distributions and holdbacks set forth in the Claims
10
     Distribution Chart and granting the relief requested in this Motion.
11
                                         III.       CONCLUSION
12
13          WHEREFORE, Liquidation Trustee/Distribution Agent respectfully requests that the

14   Court grant the Motion and order relief substantially in the form of the proposed order attached
15   hereto as Exhibit 1, and grant such other relief the Court deems just and proper.
16
            DATED this 26th day of May, 2020.
17
     Respectfully submitted by:                             Approved:
18
19   GHANDI DEETER BLACKHAM

20   By: /s/Nedda Ghandi                        .           By: /s/ Brian D. Shapiro
     NEDDA GHANDI, ESQ.                                     BRIAN D. SHAPIRO, ESQ.
21   Nevada Bar No. 11137                                   Liquidation Trustee
22   Email: nedda@ghandilaw.com
     725 S. 8th St. Suite 100
23   Las Vegas, Nevada 89101
     Telephone: (702) 878-1115
24   Fax: 1-(702) 447-9995
     Attorneys for R & S St. Rose Lenders
25   Liquidation Trust
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27
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                                          Disbursement Motion - 13
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 1
                                EXHIBIT 1
 2
                            PROPOSED ORDER
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                              Disbursement Order
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     GHANDI DEETER BLACKHAM
 4
     NEDDA GHANDI, ESQ.
 5   Nevada Bar No. 11137
     Email: nedda@ghandilaw.com
 6   LAURA A. DEETER, ESQ.
     Nevada Bar No. 10562
 7
     Email: laura@ghandilaw.com
 8   725 South 8th Street Suite 100
     Las Vegas, Nevada 89101
 9   Telephone: (702) 878-1115
10   Facsimile: (702) 979-2485
     Attorneys for R & S St. Rose Lenders Liquidation Trust
11
                                   UNITED STATES BANKRUPTCY COURT
12
                                        FOR THE DISTRICT OF NEVADA
13
14   In re:                              ) CASE NO. BK-S-11-14973-MKN
                                         ) CHAPTER 11
15   R & S ST. ROSE LENDERS, LLC,        )
                                         )
16               Debtor.                 )
                                         )
17                                       )    Hearing Date:
18   ____________________________________)    Hearing Time:

19         [PROPOSED] ORDER GRANTING MOTION FOR ORDER AUTHORIZING
           LIQUIDATION TRUSTEE TO DISBURSE FUNDS, HOLDBACK FUNDS FOR
20        ADMINISTRATIVE CLAIMS, AND DISBURSE ON PRORATED BASIS FUNDS
               REMAINING AFTER PAYMENT OF ADMINISTRATIVE CLAIMS
21
                     WITHOUT FURTHER ORDER OF THE COURT
22              Upon the Motion for Order Authorizing Liquidation Trustee to Disburse Funds,
23
     Holdback Funds for Administrative Claims, and Disburse of Prorated Basis Funds Remaining
24
     After Payment of Administrative Claims Without Further Order of the Court (the “Motion”) 1
25
     filed by Brian D. Shapiro (“Liquidation Trustee”), on behalf of The R & S St. Rose Lenders,
26
     LLC Liquidation Trust (“Liquidation Trust”), and the Debtor-out-of-possession, R & S St. Rose
27
28
     1
         All capitalized, undefined terms shall have the meanings ascribed to them in the Motion.


                                                             Ex. 2
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 1   Lenders, LLC (“Lenders,” and together with the Liquidation Trustee, the “Movants”), by and
 2   through their undersigned counsel, having been heard by this Court, with appearances noted on
 3   the record, the Court having reviewed the Motion and all matters submitted therewith; notice
 4   of the Motion having been proper; the Court having stated its findings of fact and conclusions
 5   of law on the record at the hearing, which are incorporated herein by reference in accordance
 6
     with Fed. R. Civ. P. 52, made applicable pursuant to Fed. R. Bankr P. 7052 and 9014; and good
 7
     cause appearing therefore,
 8
     IT IS HEREBY ORDERED:
 9
            1.      The Motion is GRANTED.
10
            2.      The Liquidation Trustee/Distribution Agent is authorized to holdback estimated
11
     funds for payments to the United States Trustee and to make payments to the United States
12
     Trustee for the fees that will be due to the United States Trustee related to the distributions
13
     made to creditors in administering the Trust as estimated in the Claims Distribution Chart
14
15   attached to the Motion as Exhibit 2.

16          3.      The Liquidation Trustee/Distribution Agent is authorized to holdback

17   $250,000.00 (the "Administrative Holdback") in funds for payments for administrative fees and

18   costs incurred administering the Trust as set forth in the Claims Distribution Chart attached to

19   the Motion as Exhibit 2.
20          4.      The Liquidation Trustee/Distribution Agent is authorized to make pro rata
21   distributions to Class 1 claimants pursuant to the Claims Distribution Chart attached to the
22   Motion as Exhibit 2.
23          5.      The Liquidation Trustee/Distribution Agent is authorized to pay the fees and
24   costs incurred in the administration of the Trust by the Liquidation Trustee/Distribution Agent
25
     and Debtor's counsel from the Administrative Holdback without further order of the Court.
26
            6.      After the payment of the fees and costs incurred in the administration of the
27
     Trust from the Administrative Holdback, the Liquidation Trustee/Distribution Agent is
28
     authorized to disburse any remaining funds from the Administrative Holdback, without further


                                                  Ex. 2
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 1   order of the Court, to Class 1 claimants by calculating each Creditor's share of the remaining
 2   funds by applying the "ProRata Percentage of Total" as set forth on the Claims Distribution
 3   Chart attached to the Motion as Exhibit 2 to the remaining funds to determine each parties'
 4   respective share.
 5          7.      Any of the distributions permitted by way of this Order that are under $1.00 shall
 6
     not be made.
 7
            IT IS SO ORDERED.
 8
     Prepared and Submitted by:
 9   GHANDI DEETER BLACKHAM
10
     By: /s/ Nedda Ghandi          .


11   NEDDA GHANDI, ESQ.
     Nevada Bar No. 11137
12   Email: nedda@ghandilaw.com
     725 S. 8th St. Suite 100
13   Las Vegas, Nevada 89101
     Telephone: (702) 878-1115
14   Fax: 1-(702) 447-9995
     Attorneys for R & S St. Rose Lenders
15   Liquidation Trust
16
     Approved:
17
     By: /s/ Brian D. Shapiro
18
     BRIAN D. SHAPIRO, ESQ.
19   Liquidation Trustee

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                                                  Ex. 2
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                                EXHIBIT 2
 1
 2                   CLAIMS DISTRIBUTION CHART

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                                    Ex. 2
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                                           Distributions from Liquidation Trust to Class 1 Creditors
  The following distribution numbers are best estimates based upon currently available balances. Payments may be adjusted pursuant to
                          creditors' prorata share based upon actual balance of the account at time of distribution.
       Description                                            Amount               Remaining Balance
       Estimated Amount in Account                             $8,536,328.94             $8,536,328.94
       Less Trust Obligation to Truist Pursuant to Global
                                                               ($1,165,666.67)
       Settlement Agreement                                                              $7,370,662.27
       Less Estimated U.S. Trustee Fees due related to
                                                                ($11,566.67)
       Distribution to Truist (1%)                                                       $7,359,095.60
       Less Proposed Holdback for Administrative Fees
                                                                ($250,000.00)
       and Costs                                                                         $7,109,095.60

       Less Estimated U.S. Trustee Fees on Balance (1%)         ($71,090.95)
                                                                                         $7,038,004.65
       Subtotal for Available for Pro-Rata Distribution
       Payments                                                $7,038,004.65

                                              Allowed Claim                                              Payee for Distribution Check if Different than
POC#                 Creditor Name               Amount       ProRata % of Total     Est. Distribution   Proof of Claim


       Marvin Burns, Trustee       Attn:
       Bankruptcy Dept./Managing Agent
       9107 Wilshire Blvd., #800 Beverly
 1     Hills, CA 90210                         $102,000.00          0.38%               $26,668.55       Marvin Burns, Esq.
       Saeed Sassooni
       3516 Alginet Dr.
 2     Encino CA 91436                         $195,582.96          0.73%               $51,136.42
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     Bruce H. Rosen
     Attn: Bankruptcy Dept./Managing
     Agent         6230 Orchard Lake
     Road #296 West Bloomfield, MI
3    48322                                   $275,000.00        1.02%             $71,900.51
     Barry Briskin transferred to Pioneer
     Funding Group              220 N.
     Zapata Hwy. Suite 11        PMB
     516A                       Laredo, TX
5    78043-4464                              $142,469.00        0.53%             $37,249.43
     Medrdad Noorani
     245 East 63rd Street, Apt. 816, New
7    York, NY 10065                          $209,041.67        0.78%             $54,655.28
     Erahim Noorani
     245 East 63rd Street, Apt. 816, New                                                        Ebrahim Noorani ITF Daniella, Benjamin, and
 8   York, NY 10065                          $236,647.22        0.88%             $61,872.93    Ethan Noorani
10   8521 Associates                         $134,292.00        0.50%             $35,111.50
     Edward Narens Trust
     27815 Lakehills Dr.
11   Franklin, MI 48025                      $398,875.00        1.48%            $104,288.42
     Shirley Harris Trust
     2860 Filbert St.
12   San Francisco, CA 94123                 $264,583.00        0.98%             $69,176.92    Steven and Gina Harris Trust

     Steven M. Gina Harris Rev. Liv. Trust
     2860 Filbert St.
13   San Francisco, CA 94123                 $332,729.00        1.24%             $86,994.13
     Merle Harris Trust
     2860 Filbert St.
14   San Francisco, CA 94123                 $531,167.00        1.97%            $138,877.01
     Babs Kaufman Revocable Trust
     26701 Carol Ave.
15   Franklin, MI 48025                      $200,438.00        0.74%             $52,405.80    Babs Kaufman Trust
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     Julie Harris
     Attn: Bankruptcy Dept./Managing
     Agent               320 Central Park
     West #10H          New York, NY
 16 10025                                   $200,438.00        0.74%             $52,405.80
     George Nyman
     115 W. Brown St.
17-2 Birmingham, MI 48009                   $538,219.18        2.00%            $140,720.85
     Romyar Nourafchan
     1217 Shadybrook Dr.
 18 Beverly Hills, CA 90210                 $278,055.56        1.03%             $72,699.41
     Iraj Jourabchi
     137 North Bowling Green Way Los
 20 Angles, CA 90049                        $139,027.38        0.52%             $36,349.60
     Vida Hamadani
     137 North Bowling Green Way Los
 21 Angles, CA 90049                        $278,055.56        1.03%             $72,699.41
     Poopak Nourafchan
     121 N. Canyon View Drive        Los
 22 Angeles,CA 90049                        $278,055.56        1.03%             $72,699.41
     Afagh Nourafchan
     10390 Wilshire Blvd. Apt. 1210 Los
 23 Angeles, CA 90024                       $140,027.78        0.52%             $36,611.16
     David Setareh
     11820 Mayfield Ave. #316
 24 Los Angeles, CA 90024                   $195,238.89        0.73%             $51,046.46
     R. Phillip & Afagh Nourafchan
     Family Trust
     10390 Wilshire Blvd. Apt. 1210
 25 Los Angeles, CA 90024                   $353,970.89        1.31%             $92,547.96
     Sharareh Makhani
     1745 Camino Palmero #431
 26 Los Angeles, CA 90046                   $414,083.33        1.54%            $108,264.74
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     Houshang Forouzan
     10787 Wilshire Blvd. Apt. #1502 Los
27   Angeles, CA 90024                     $278,055.56          1.03%             $72,699.41
     Mitra Forouzan
     750 S. Spaulding Ave. Unit 121 Los
28   Angeles, CA 90036                     $761,152.78          2.83%            $199,008.27
     Commonwealth Land Title Ins.
31   Company                               $1,175,905.44        4.37%            $307,448.01
     Rafee Halelouyan
     1064 S. Shenandoah St. Apt. #204
32   Los Angeles, CA 90035                 $117,323.61          0.44%             $30,675.01
     Yehuda Ohebsion
     10366 Wilshire Blvd. Unit 301 Los
33   Angeles, CA 90024                     $1,865,375.00        6.93%            $487,714.24
     Shahnaz Sefaradi
     6336 West 6th Street
34   Los Angeles, CA 90048                 $103,520.83          0.38%             $27,066.18

     Allan G Zielelman
     Attn: Bankruptcy Dept./Managing
     Agent          4731 N Dixie Hwy.
35   Boca Raton, FL 33431                  $135,694.44          0.50%             $35,478.18
     Dr. Rahmatt Ollah Raffi
     10430 Wilshire Blvd. Apt. 1004
37   Los Angeles, CA 90024                 $1,077,706.26        4.00%            $281,773.20
     Joseph Safaradi
     165 North Stanley Dr.
38   Beverly Hills, CA 90211               $241,548.61          0.90%             $63,154.43
     Shahram Rahimi
     240 S La Peer Dr.
39   Beverly Hills, CA 90211               $138,027.78          0.51%             $36,088.25
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     Fashandi & Associates
     Tony Fashandi                  9320
     Chesapeake Dr. Ste. 102
 40 San Diego, CA 92123                    $138,027.78          0.51%             $36,088.25
     Mehrdad Danialifar
     619 N. Foothill Rd.         Beverly
 41 Hills, CA 90210                        $207,041.67          0.77%             $54,132.37
     Moulouk Forouzan
     7E 14th St. #923
 42 New York, New York 10003               $416,083.33          1.55%            $108,787.65
     David Saadnia
     50100 Via Puente
 44 La Quinta, CA 92253                    $138,027.78          0.51%             $36,088.25
     Douriz Saadnia
     50100 Via Puente
 45 La Quinta, CA 92253                    $138,027.78          0.51%             $36,088.25
     Bradley Abeson
     5018 NW 141st St
 47 Vancouver, WA 98685                     $86,625.00          0.32%             $22,648.66
     Double E. Family
     9875 West La Manch Ave.
49-2 Las Vegas, NV 89149                   $1,518,825.00        5.64%            $397,106.52
     R&S Investment Group
     10390 Wilshire Blvd. Apt. 1210 Los
 51 Angeles, CA 90024                      $8,439,463.49       31.35%            $2,206,551.78

     William Wetsman Trust
     Attn: Bankruptcy Dept./Managing
     Agent         PO Box 3032                                                                   Lillian R Wetsman Trust c/o William Wetsman
53   Birmingham, MI 48012                  $134,292.00          0.50%             $35,111.50     Trustee
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     Lilliam R. Wetsman Trust
     Attn: Bankruptcy Dept./Managing
     Agent          PO Box 3032
54   Birmingham, MI 48012                   $67,146.00         0.25%             $17,555.75

     The Wetsman Foundation
     Attn: Bankruptcy Dept./Managing
     Agent         PO Box 3032
55   Birmingham, MI 48012                   $134,292.00        0.50%             $35,111.50

     ADDA Enterprises LLC
     Attn: Bankruptcy Dept./Managing
     Agent               127 Northington
56   Drive           Avon, CT 06001         $67,146.00         0.25%             $17,555.75
     Isabelle Ziegelman
     c/o Allan Ziegelman
     4731 N. Dixie Hwy.
57   Boca Raton, FL 33431                   $67,847.22         0.25%             $17,739.09

    Kenneth Nathan, Ch. 7 Trustee of
    Jeffrey D. Novick, Case No. 14-4581
    24725 W. 12 Mile Road Ste. 110
58A Southfield, MI 48034                    $268,584.00        1.00%             $70,223.01
    Edith Briskin
    727 Willits St.
 59 Birmingham, MI 48009                    $134,292.00        0.50%             $35,111.50
     Shirley K. Schlafer Foundation
     727 Willits St.
60   Birmingham, MI 48009                   $134,292.00        0.50%             $35,111.50
     Jeffrey Harris
     400 West 12th Street Ste. 9C
61   New York, NY 10014                     $502,000.00        1.86%            $131,251.12
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     Zomco, Inc.
     Ramin Zomorodi
     2007 S. Beverly Glen Blvd. Apt. 301
 62 Los Angeles, CA 90025                  $1,520,305.66         5.65%            $397,493.65
     Keyvan Setareh
     501 Amalfi Dr.
63-2 Pacific Palisades, CA 90272           $1,073,837.39         3.99%            $280,761.66

     Total Class 1                         $26,918,463.39       100.00%          $7,038,004.65

       Percentage of Total Claims Paid
           through Total Proposed
                Distribution                                    26.15%
